          Case 3:20-cv-00991-JCH Document 27 Filed 10/06/20 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

                                                      :
JAKUB MADEJ                                           :
                                                      :       CIVIL ACTION NO.
                       PLAINTIFF                      :       3:20-cv-00991-JCH
                                                      :
v.                                                    :
                                                      :
YALE UNIVERSITY, ET AL                                :
                                                      :
                       DEFENDANTS                     :
                                                      :       OCTOBER 6, 2020

           DEFENDANTS’ MOTION TO DISMISS AND MOTION TO STRIKE

       Pursuant to Rules 12(b)(2) and 12(b)(5) of the Federal Rules of Civil Procedure, the

defendants, Yale University, Yale Health, Patrick M. Noonan, Harold Rose, Caroline Hendel, Paul

Genecin, and Lorraine Siggins, hereby move to dismiss the plaintiff’s complaint for lack of

personal jurisdiction and insufficient service of process because the plaintiff’s attempt to serve the

defendants via certified mail does not comply with Rule 4 of the Federal Rules of Civil Procedure.

In the event that the motion to dismiss is denied, the defendants also move to strike certain

allegations pursuant to Rule 12(f) because they are immaterial, impertinent, and/or scandalous.

The accompanying memorandum of law supports this motion.
          Case 3:20-cv-00991-JCH Document 27 Filed 10/06/20 Page 2 of 2




                                                THE DEFENDANTS,

                                                YALE UNIVERSITY, YALE HEALTH,
                                                PATRICK M. NOONAN, HAROLD ROSE,
                                                CAROLINE HENDEL, PAUL GENECIN, AND
                                                LORRAINE SIGGINS


                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                COLLEEN NOONAN DAVIS – CT27773
                                                DONAHUE, DURHAM & NOONAN, P.C.
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                                                741 Boston Post Road, Suite 306
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                                                Email: pnoonan@ddnctlaw.com




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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